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 4   Attorney for Defendant
     ALEJANDRO BARAJAS
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 7
 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                     )       No. CR 07-00775 DLJ
12                                                 )
            Plaintiff,                             )
13                                                 )       STIPULATION TO EXCLUDE
                    v.                             )       TIME UNDER THE SPEEDY TRIAL
14                                                 )       ACT; (PROPOSED) ORDER
                                                   )
15   ALEJANDRO BARAJAS,                            )
                                                   )
16          Defendant.                             )
                                                   )
17
18          ALEJANDRO BARAJAS, by and through his counsel of record DEBORAH G. LEVINE
19   and the plaintiff, the United States of America and through its counsel, GARTH HIRE, Assistant
20   United States Attorney in the Northern District of California, both hereby stipulate as follows:
21   1.     By this stipulation, the parties jointly move to continue the hearing set for June 6, 2008 to
22          July 25, 2008 for the following reasons:
23          a.      Defense counsel and the United States require additional time to evaluate the
24                  evidence in the case and determine if resolution by plea agreement is possible.
25          b.      Counsel for defendant needs additional time to further evaluate the evidence in
26                  this case to determine what if any pre trial motions should be filed in order to
27                  effectively represent the defendant.
28          c.      Counsel for defendant was on vacation most of May and will be unavailable (out
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 1                of state) June 20, 2008 and July 11, 2008.
 2   2.    For the above-stated reasons, the ends of justice are served by continuing the case as
 3         requested and outweigh the interest of the public and the defendant to a trial within the
 4         original date prescribed by the Speedy Trial Act. Thus, for the purpose of computing time
 5         under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence,
 6         the time period of June 6, 2008 though and including July 25, 2008 is deemed excludable
 7         pursuant to 18 U.S.C. § 3161 (h) (8) (A), (B)(iv) because it results from a continuance
 8         granted by the Court at the parties’ request on the basis of the Judge’s finding that the
 9         ends of justice are served by taking such action and outweigh the best interests of the
10         public and the defendant in a speedy trail.
11
12         IT IS SO STIPULATED.
13
14   DATED: June 5, 2008                          Respectfully Submitted,
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16
17                                                 /s/
                                                  DEBORAH G. LEVINE
18                                                Attorney for Defendant
                                                  ALEXANDRO BARAJAS
19
20
21   DATED: June 5, 2008                           /s/
                                                  GARTH HIRE
22                                                Assistant United States Attorney
                                                  Attorney for United States of America
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 1                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3                                        OAKLAND DIVISION
 4
 5   UNITED STATES OF AMERICA,                      )                No. CR 07-00775 DLJ
                                                    )
 6            Plaintiff,                            )
                                                    )
 7                   v.                             )
                                                    )                (PROPOSED) ORDER
 8   ALEJANDRO BARAJAS                              )
                                                    )
 9            Defendant.                            )
                                                    )
10
11            UPON STIPULATION OF THE PARTIES, AND FOR GOOD CAUSE SHOWN, this
12   matter is continued from June 6, 2008 until July 25, 2008 at 9 a.m. for status conference . This
13   Court finds that the period of time from June 6, 2008 through and including July 25, 2008 is
14   excludable for purposes of the Speedy Trial Act for the reasons set forth in the stipulation of the
15   parties, and this Court adopts those reasons as its findings.
16            IT IS SO ORDERED.
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20   Dated:                , 2008
                                                           HONORABLE D. LOWELL JENSEN
21                                                         United States District Court Judge
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